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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


                  United States of America                         )
                             Plaintiff                             )
                                v.                                 )      Case No.   19-254
                       Reginald Fowler                             )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Reginald Fowler                                                                                                      .


Date:          04/06/2021
                                                                                             Attorney’s signature


                                                                                            Edward V. Sapone
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